                                                                                                                        Page 1 of 5


                               IN THE UNITED STATES DISTRICT COURT FOR THE
                                              WESTERN DISTRICT OF MISSOURI
                                                   WESTERN DIVISION

UNITED STATES OF AMERICA,

                            Plaintiff,

-vs-                                                                   Case No.: 09-00224-18-CR-W-HFS

MICHAEL A. COOK,

                            Defendant.

                                                                       USM Number: 21608-045

                                                                       William David Langston, Retained
                                                                       115 East Park Street, Ste C
                                                                       Olathe, KS 66061
___________________________________

                                               JUDGMENT IN A CRIMINAL CASE


The defendant pleaded guilty to a lesser included offense within Count 1 of the Indictment on 7/29/2010. Accordingly, the court
has adjudicated that the defendant is guilty of the following offense(s):

                                                                                           Date Offense            Count
       Title & Section                             Nature of Offense                        Concluded            Number(s)

 21 U.S.C. 846,                  Conspiracy to Distribute Some Amount of Cocaine               6/25/09                 1
 841(a)(1) and (b)(1)(C)         and Marijuana

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                       Date of Imposition of Sentence: April 5, 2011




                                                                       /s/HowardF. Sachs
                                                                       HOWARD F. SACHS
                                                                       SENIOR UNITED STATES DISTRICT JUDGE

                                                                       April 7, 2011




AO 245B (Rev. 12/03) Judgment in a Criminal Case
                  Case 4:09-cr-00224-HFS              Document 567           Filed 04/07/11       Page 1 of 5
MICHAEL A. COOK                                                                                                  Page 2 of 5
09-00224-18-CR-W-HFS

                                                   IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 30 Months.

        The Court recommends to the Bureau of Prisons: that, upon the defendant’s request, the defendant be
designated to an institution for participation in the 500-hour Residential Substance Abuse Treatment Program and as close
to the Kansas City, Missouri area as possible.

         The defendant shall surrender to the institution designated by the Bureau of Prisons on May 20, 2011.




                                                       RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                           __________________________________
                                                                                  UNITED STATES MARSHAL


                                                                        By:__________________________________
                                                                                    Deputy U.S. Marshal




AO 245B (Rev. 12/03) Judgment in a Criminal Case
                  Case 4:09-cr-00224-HFS           Document 567         Filed 04/07/11       Page 2 of 5
MICHAEL A. COOK                                                                                                          Page 3 of 5
09-00224-18-CR-W-HFS

                                                   SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from custody of the Bureau of Prisons.

         The defendant shall not commit another federal, state or local crime.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as determined by the court.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

       If this judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

        The defendant must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

                                     STANDARD CONDITIONS OF SUPERVISION

1.       The defendant shall not leave the judicial district without the permission of the court or probation officer;

2.       The defendant shall report to the probation officer and shall submit a truthful and complete written report within the
         first five days of each month;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

4.       The defendant shall support his or her dependents and meet other family responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
         training, or other acceptable reasons;

6.       The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
         administer any controlled substance or any paraphernalia related to any controlled substances, except as prescribed
         by a physician;

8.       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         administered;

9.       The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
         person convicted of a felony, unless granted permission to do so by the probation officer;

10.      The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
         confiscation of any contraband observed in plain view by the probation officer;

11.      The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a
         law enforcement officer;



AO 245B (Rev. 12/03) Judgment in a Criminal Case
                  Case 4:09-cr-00224-HFS             Document 567           Filed 04/07/11        Page 3 of 5
MICHAEL A. COOK                                                                                                            Page 4 of 5
09-00224-18-CR-W-HFS

12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
         without the permission of the court;

13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
         defendant’s criminal record or personal history or characteristics, and shall permit the probation officer to make such
         notifications and to confirm the defendant’s compliance with such notification requirement.

                             ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of supervised release:

1.       The defendant shall successfully participate in a substance abuse counseling program, which may include urinalysis,
         sweat patch, or Breathalyzer testing, as approved by the Probation Office, and pay any associated costs as directed
         by the Probation Office.

2.       The defendant shall not consume or possess alcoholic beverages or beer, including 3.2 percent beer, at any time
         during the period of supervision.

3.       The defendant shall submit his person, residence, office or vehicle to a search, conducted by a U.S. Probation Officer
         at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a
         violation of a condition of release; failure to submit to a search may be grounds for revocation; the defendant shall warn
         any other residents that the premises may be subject to searches pursuant to this condition.

4.       Defendant shall comply with the Western District of Missouri Offender Employment Guideline which may include
         participation in training, counseling, and/or daily job searching, as directed by the probation officer. If not in compliance
         with the condition of supervision requiring full-time employment at a lawful occupation, the defendant may be required
         to perform up to 20 hours of community service per week until employed, as approved or directed by the probation
         officer


                                     ACKNOWLEDGMENT OF CONDITIONS

        I have read or have had read to me the conditions of supervision set forth in this judgment and I fully understand them.
I have been provided a copy of them.

        I understand that upon finding of a violation of probation or supervised release, the Court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.

_______________________________________                   ____________________
Defendant                                                 Date

________________________________________                  ____________________
United States Probation Officer                            Date




AO 245B (Rev. 12/03) Judgment in a Criminal Case
                  Case 4:09-cr-00224-HFS              Document 567            Filed 04/07/11         Page 4 of 5
MICHAEL A. COOK                                                                                                                                Page 5 of 5
09-00224-18-CR-W-HFS

                                                CRIMINAL MONETARY PENALTIES


       The defendant must pay the total criminal monetary penalties under the schedule of payments set forth in the Schedule
of Payments.

             Total Assessment                                         Total Fine                                     Total Restitution

                    $100.00                                             Waived                                                N/A


          The mandatory special assessment is due immediately.

          Since the Court finds the defendant does not have the ability to pay a fine, the fine is waived.

          Additionally, the denial of federal benefits, as provided in 21 U.S.C.862, is not ordered in this case.




Note: Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed
on or after September 13, 1994 but before April 23, 1996.

AO 245B (Rev. 12/03) Judgment in a Criminal Case
                    Case 4:09-cr-00224-HFS                     Document 567               Filed 04/07/11             Page 5 of 5
